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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CASE #: 2:08-cv-00459-ASB

RICHARD G. KRAUK and                            )
MARGUERITE H. KRAUK,                            )
                                                )
                     Plaintiffs,                )
                                                )
    -versus-                                    )
                                                )
OWENS-ILLINOIS, INC., et al                     )
                                                )
                      Defendants.               )


                                           AFFIDAVIT

       I, Timothy W. Bouch, after being first duly sworn, state as follows:

       1.      My name is Timothy W. Bouch. I am the attorney representing Garlock Sealing

Technologies, LLC in the above-titled case.

       2.      The facts upon which this Affidavit is based are facts within my personal

knowledge.

       3.      Garlock Sealing Technologies, LLC, by counsel, consents and joins in the

removal of the above-titled action.

       FURTHER, Affiant saith not.


                                              S/ Timothy W. Bouch______
                                              Timothy W. Bouch, Esq.
                                              Tbouch@leathbouchlaw.com
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                                              Charleston, South Carolina 29401
                                              (843) 937-8811 – Phone
                                              (843) 937-0606 – Facsimile

                                              Attorneys for Garlock Sealing Technologies, LLC
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SWORN to before me this
 13th day of     February   , 2008.

/s/ Laura A. Whisenhunt
Notary Public for South Carolina
My Commission Expires: 04/12/2016




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